            Case 8:23-ap-01046-SC Doc Filed 07/05/23 Entered 07/05/23 21:18:47                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 7
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jul 03, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 05, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 05, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 3, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

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Andrew Still
                                   on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
            Case 8:23-ap-01046-SC Doc Filed 07/05/23 Entered 07/05/23 21:18:47                                               Desc
                               Imaged Certificate of Notice Page 2 of 7
District/off: 0973-8                                       User: admin                                                         Page 2 of 4
Date Rcvd: Jul 03, 2023                                    Form ID: pdf042                                                    Total Noticed: 1
Christopher Ghio
                          on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com

Christopher Ghio
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                          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

D Edward Hays
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                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
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                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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Eric Bensamochan
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                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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Ira David Kharasch
                          on behalf of Interested Party Ad Hoc Consumer Claimants Committee ikharasch@pszjlaw.com

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                          estcase.com

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                          on behalf of Interested Party Courtesy NEF JWhite@wrslawyers.com jlee@wrslawyers.com;eweiman@wrslawyers.com

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Jonathan Serrano
                          on behalf of Plaintiff Richard A. Marshack jonathan.serrano@dinsmore.com

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                          on behalf of Debtor The Litigation Practice Group P.C. joon@khanglaw.com

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                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud
                          on behalf of Trustee Richard A Marshack (TR) lmasud@marshackhays.com
                          lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
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                                  Imaged Certificate of Notice Page 3 of 7
District/off: 0973-8                                           User: admin                                                          Page 3 of 4
Date Rcvd: Jul 03, 2023                                        Form ID: pdf042                                                     Total Noticed: 1
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Olivia Scott
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Paul R Shankman
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                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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                               Imaged Certificate of Notice Page 4 of 7
District/off: 0973-8                     User: admin                              Page 4 of 4
Date Rcvd: Jul 03, 2023                  Form ID: pdf042                         Total Noticed: 1
TOTAL: 56
Case 8:23-ap-01046-SC Doc Filed 07/05/23 Entered 07/05/23 21:18:47                                         Desc
                   Imaged Certificate of Notice Page 5 of 7


 1 Christopher B. Ghio (State Bar No. 259094)
   Christopher Celentino (State Bar No. 131688)
 2 Jonathan Serrano (State Bar No. 333225)
   DINSMORE & SHOHL LLP
                                                                          FILED & ENTERED
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 4 Telephone: 619.400.0500
   Facsimile: 619.400.0501
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   christopher.celentino@dinsmore.com                                     Central District of California
                                                                          BY bolte      DEPUTY CLERK
 6 jonathan.serrano@dinsmore.com

 7 Proposed Special Counsel to Richard A. Marshack,
   Chapter 11 Trustee
 8

 9
                                UNITED STATES BANKRUPTCY COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11
                                           SANTA ANA DIVISION
12

13 In re:                                                    Case No. 8:23-bk-10571-SC
14 THE LITIGATION PRACTICE GROUP P.C.,                       Chapter 11
15           Debtor.                                         ORDER 2175867((¶6(;3$57(
                                                             NOTICE OF NON-MATERIAL
16                                                           MODIFICATION TO PROMISSORY
                                                             NOTE WITH ADDITIONAL LENDER AS
17                                                           PART OF PREVIOUSLY APPROVED
                                                             POST-PETITION FINANCING
18
                                                          Date: June 30, 2023
19                                                        Time: 12:30 p.m.
20                                                        Judge: Hon. Scott C. Clarkson
                                                          Place: Courtroom 5C
21                                                               411 West Fourth Street
                                                                 Santa Ana, CA 92701
22

23

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25           2Q -XQH   5LFKDUG $ 0DUVKDFN WKH &KDSWHU  7UXVWHH WKH ³Trustee´  IRU WKH

26 EDQNUXSWF\ HVWDWH WKH ³Estate´  RI 7KH /LWLJDWLRQ 3UDFWLFH *URXS 3& LQ WKH DERYH-captioned
27 bankruptcy case filed a Notice of Motion and Emergency Motion (I) for Entry of Interim Order:

28 (A) Authorizing The Trustee to Obtain Post-Petition Financing and Superpriority Administrative


                                                         1
     #31080386v1
Case 8:23-ap-01046-SC Doc Filed 07/05/23 Entered 07/05/23 21:18:47                                    Desc
                   Imaged Certificate of Notice Page 6 of 7


 1 Expense Claim Pursuant to 11 U.S.C. § 364; and (B) Setting Final Hearing; and Pursuant to Final

 2 Hearing, (II) for Entry of Final Order Approving Post-Petition Financing on a Final Basis [Docket

 3 No. 119@ WKH³Financing Motion´ 7KLV&RXUWKHDUGWKH)LQDQFing Motion and On June 22, 2023,

 4 entered an Interim Order [Docket No. 131] granting the Financing Motion that, among other things,

 5 set a Final Hearing on July 20, 2023, authorized the Trustee to borrow up to $800,000.00 of Post-

 6 Petition Financing in advance of the Final Hearing, and gave the Trustee the authority to make non-

 7 material changes to the terms of the Post-Petition Financing in advance of the Final Hearing with

 8 notice.

 9           On June 29, 2023, the Trustee filed a Notice in the case that he would be using a lender

10 different than the one identified in the Financing Motion to make advances over and above the

11 amounts the original lender had already lent. Because the Estate required additional funding to

12 make payroll and pay other necessary expenses, the Trustee reached out to third parties to identify

13 a new third party willing to lend the balance of the funds to the Estate. One of these third parties

14 ZDVZLOOLQJWROHQGWRWKH(VWDWHDQGWKH7UXVWHHILOHGWKH1RWLFHDGYLVLQJRIWKH(VWDWH¶VLQWHQWLRQ

15 to execute a second promissory note with the new lender.

16           In response to the Ex Parte Notice, the Court set the matter for hearing on June 30, 2023, at

17 12:30 p.m. and required the Trustee to provide notice of that hearing. Notice was provided as

18 ordered on June 29, 2023. The Court, having considered the Notice, all pleadings filed in support

19 of, having heard oral argument, and good cause appearing including the reasons stated on the record,

20 and in the Notice, the Court ordered as follows:

21           IT IS ORDERED that:

22           1.     The Ex Parte Notice is granted and Trustee may proceed with the identified

23 replacement lender;

24           2.     Trustee is authorized to borrow $560,000 from Liberty Acquisitions Group, Inc. or

25 its assignee and execute the second Super-Priority Promissory Note (the "Additional Note")

26 attached as Exhibit 2 WRWKH7UXVWHH¶V'HFODUDWLRQ
27           3.     Trustee shall file a declaration by 5:00 p.m. on Monday, July 3, 2023, that attaches

28 a copy of the Note he executed in favor of the initial lender, Resolution Ventures, as well as a copy

                                                       2

     #31080386v1
Case 8:23-ap-01046-SC Doc Filed 07/05/23 Entered 07/05/23 21:18:47                                  Desc
                   Imaged Certificate of Notice Page 7 of 7


 1 of the Additional Note executed in favor of the replacement lender, Liberty Acquisitions Group,

 2 Inc.

 3          4.     There shall be no stay of this Order, pursuant to Rule 6004(h) of the Federal Rules

 4 of Bankruptcy Procedure (to the extent applicable) or otherwise;

 5          5.     The Court retains jurisdiction with respect to all matters arising from or related to

 6 the implementation of this Order.

 7          6.     The Final Hearing on post-petition financing is continued from July 20, 2023, at 9:30

 8 a.m. to August 10, 2023, at 10:00 a.m.

 9                                                  ###

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24 Date: July 3, 2023

25

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                                                     3

     #31080386v1
